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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:08CR7
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
TERRI BURTTON,                               )
                                             )
             Defendant.                      )

      This matter is before the Court on the government’s oral motion to dismiss the

Indictment in this case with prejudice as against the Defendant, Terri Burtton.

      IT IS ORDERED:

      1.     The government’s oral motion to dismiss is granted; and

      2.     The Indictment is dismissed with prejudice as against the Defendant, Terri

             Burtton.

      DATED this 12th day of February, 2009.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
